       Case 2:23-cv-01187-DLR Document 57 Filed 10/04/23 Page 1 of 2



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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Houston Specialty Insurance Company,                No. CV-23-01187-PHX-DLR
10                  Plaintiff,                           ORDER
11   v.
12   Leah Rekowski, et al.,
13                  Defendants.
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16          On September 29, 2023, Fire Chief Steven W. Kerber filed an answer on behalf of

17   Regional Fire & Rescue Department Incorporated. (Doc. 54.) “[I]t has been the law for
18   the better part of two centuries . . . that a corporation may appear in the federal courts only

19   through licensed counsel.” Rowland v. Calif. Men’s Colony, 506 U.S. 194, 201-02 (1993);

20   see also Multi-Denominational Ministry of Cannabis and Rastafari, Inc. v. Holder, 365 F.
21   App’x 817, 819 (9th Cir. 2010) (“[T]he law is clear that incorporated entities must be
22   represented by counsel in court”); Larsen v. Lauriel Inv. Inc., 161 F.Supp.2d 1029, 1034

23   n.1 (D. Ariz. 2001) (noting that pro se defendant “may not represent . . . a corporate

24   defendant”).   There is no indication that Fire Chief Kerber is a licensed attorney.

25   Accordingly, he cannot appear and file an answer in federal court on behalf of Regional

26   Fire & Rescue Department Incorporated.           If Regional Fire & Rescue Department
27   Incorporated wishes to participate in this action, it must do so through a licensed attorney.
28   ///
       Case 2:23-cv-01187-DLR Document 57 Filed 10/04/23 Page 2 of 2



 1         IT THEREFORE IS ORDERED that the Clerk shall strike Regional Fire &
 2   Rescue Department Incorporated’s answer.
 3         IT IS FURTHER ORDERED that Regional Fire & Rescue Department
 4   Incorporated shall have 14 days to obtain counsel and file an answer through counsel.
 5         Dated this 3rd day of October, 2023.
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                                                  Douglas L. Rayes
10                                                United States District Judge
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